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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.




 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.


DEFENDANT GOOGLE LLC’S NOTICE OF ERRATA TO PROPOSED FINDINGS OF
        FACT AND RESPONSIVE PROPOSED FINDINGS OF FACT

       Defendant Google LLC respectfully submits the following errata to its Proposed Findings

of Fact (ECF 1346) and Responsive Proposed Findings of Fact (ECF 1366). These errata are

intended to correct inadvertent citation errors identified in the course of creating for the Court a

hyperlinked version of Google’s post-hearing submissions.

 Document                                           Correction

 Google’s Proposed Findings of Fact, ECF            Para. 564: The original citation to Tr. 3453:8
 1346.                                              54:20 (Reid), should be amended to Tr.
                                                    3435:13-36:7 (Reid).
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 Google’s Proposed Findings of Fact, ECF         Para. 641: The original citation to Tr. 2817:6-
 1346.                                           18 (Allan), should be amended to Tr. 2819:6-
                                                 18 (Allan).

 Google’s Proposed Findings of Fact, ECF         Para. 745: The original citation to Tr. 2971:8-
 1346.                                           23 (J. Adkins), should be amended to Tr.
                                                 2971:9-23 (J. Adkins).

 Google’s Proposed Findings of Fact, ECF         Para. 868: The original citation to Tr. 2816:2-
 1346                                            17:12 (Allan), should be amended to Tr.
                                                 2816:21-17:12 (Allan).

 Google’s Proposed Findings of Fact, ECF         Para. 991: The original citation to Tr.
 1346                                            3450:19-52:3 (Reid), should be amended to
                                                 Tr. 3550:19-52:3 (Reid).

 Google’s Responsive Proposed Findings of        Para. 235: The original citation to Tr. 836:5-
 Fact, ECF 1366                                  37:6 (Weinberg) should be amended to Tr.
                                                 835:5-36:6 (Weinberg).



Dated: May 29, 2025                         Respectfully submitted,

                                            WILLIAMS & CONNOLLY LLP

                                            By: /s/ John E. Schmidtlein
                                            John E. Schmidtlein (D.C. Bar No. 441261)
                                            Benjamin M. Greenblum (D.C. Bar No. 979786)
                                            Colette T. Connor (D.C. Bar No. 991533)
                                            680 Maine Avenue, SW
                                            Washington, DC 20024
                                            Tel: 202-434-5000
                                            jschmidtlein@wc.com
                                            bgreenblum@wc.com
                                            cconnor@wc.com

                                            WILSON SONSINI GOODRICH & ROSATI P.C.
                                            Michael Sommer (admitted pro hac vice)
                                            Franklin M. Rubinstein (D.C. Bar No. 476674)
                                            1700 K Street, NW
                                            Washington, DC 20006
                                            Tel: 202-973-8800
                                            msommer@wsgr.com
                                            frubinstein@wsgr.com



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                              ROPES & GRAY LLP
                              Mark S. Popofsky (D.C. Bar No. 454213)
                              2099 Pennsylvania Avenue, NW
                              Washington, DC 20006
                              Tel: 202-508-4624
                              Mark.Popofsky@ropesgray.com

                              Matthew McGinnis (admitted pro hac vice)
                              Prudential Tower
                              800 Boylston Street
                              Boston, MA 02199
                              Tel: 617-951-7703
                              Matthew.McGinnis@ropesgray.com

                              Counsel for Defendant Google LLC




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